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Peg SONY CIVIL COVER SHEET
10/01/2020 The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS DEFENDANTS

Odonata Ltd. d/b/a Cowlicks Japan (Plaintiff) Baja 137 LLC (Defendant)

Baja 137 LLC (Third-Party Plaintiff) Angel Nieves (Third-Party Defendant)

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER ATTORNEYS (IF KNOWN)

Pick & Zabicki LLP, 369 Lexington Ave., NY, NY 10017 (212) 695-6000 Hamra Law Group, P.C., 1 Linden Pl., Great Neck, NY 11021 (646) 590-0571
Hamra Law Group, P.C., 1 Linden PI., Great Neck, NY 14021 Reich, Reich & Reich, P.C., 235 Main St., #450, White Plains, NY 10601
(646) 590-0571 (For Third-Party Plaintiff) (914) 949-2126 (For Third-Partv Defendant)

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Removal from State Court pursuant to 28 U.S.C. Sec. 1452 and Fed. R. Bankr. P. 9027

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No MlyesQ]

if yes, was this case Vol.[] Invol. [-] Dismissed. No[_] Yes [-] If yes, give date & Case No.
IS THIS AN INTERNATIONAL ARBITRATION CASE? No [| Yes C]
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
[ 1367 HEALTHCARE/ 375 FALSE CLAIMS
[]110 INSURANCE [ ]310 AIRPLANE PHARMACEUTICAL PERSONAL ; 1625 DRUG RELATED [ ]422 APPEAL
{ ]120 MARINE [| ]315 AIRPLANE PRODUCT = INJURY/PRODUCT LIABILITY seizure OF PROPERTY 28 USC 158 { ]376 QUI TAM
[ } 430 MILLER ACT LIABILITY [ ]365 PERSONAL INJURY 24 USC 881 [ ]423 WITHDRAWAL [ ]400 STATE
[ ] 140 NEGOTIABLE [ 1320 ASSAULT, LIBEL & PRODUCT LIABILITY +s g99 OTHER 28 USC 157 REAPPORTIONMENT
INSTRUMENT SLANDER [ ]368 ASBESTOS PERSONAL [ ]410 ANTITRUST
[ ] 150 RECOVERY OF — [ ]330 FEDERAL INJURY PRODUCT [ }430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS' LIABILITY PROPERTY RIGHTS [ ]480 COMMERCE
ENFORCEMENT LIABILITY [ ]460 DEPORTATION
OF JUDGMENT —{ ] 340 MARINE PERSONAL PROPERTY [ 1820 COPYRIGHTS [ } 880 DEFEND TRADE SECRETS ACT | ]470 RACKETEER INFLU-
[ ) 151 MEDICARE ACT [ ]345 MARINE PRODUCT [ | 830 PATENT ENCED & CORRUPT
[ ] 182 RECOVERY OF LIABILITY [ 1370 OTHER FRAUD «a: _ - ORGANIZATION ACT
DEFAULTED [ 1350 MOTOR VEHICLE [1371 TRUTH IN LENDING { | 835 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO)
STUDENT LOANS = [ ] 355 MOTOR VEHICLE [ | 840 TRADEMARK [ ]480 CONSUMER CREDIT
(EXCL VETERANS} PRODUCT LIABILITY SOCIAL SECURITY
[]153 RECOVERY OF  [ } 360 OTHER PERSONAL ee eOtonONe eR
OVERPAYMENT INJURY [ ]380 OTHER PERSONAL —- LABOR [ ] 861 HIA (1305ff) PROTECTION ACT
OF VETERAN'S [ ]362 PERSONAL INJURY - PROPERTY DAMAGE [ ] 862 BLACK LUNG (923)
BENEFITS MED MALPRACTICE —_[ ] 385 PROPERTY DAMAGE [ ] 710 FAIRLABOR [ ] 863 DIWC/DIWW (405()) [ ]490 CABLE/SATELLITE TV
[ ] 160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT [ 1864 SSID TITLE XVI [ ]850 SECURITIES/
SUITS [ ] 720 LABOR/MGMT { } 865 RSI (405(g)) COMMODITIES/
[ ] 190 OTHER PRISONER PETITIONS RELATIONS EXCHANGE
CONTRACT | 463 ALIEN DETAINEE [ 740 RAILWAY LABOR ACT THE Y
[ ) 195 CONTRACT [ 1510 MOTIONS TO (| 781 FAMILY MEDICAL FEDERAL TAX SUITS i B80 Oona TOR
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE Le aVE ACT (FMLA)
LIABILITY 28 USC 2255 “— ” [ ] 870 TAXES (U.S. Plaintiff or [|] 891 AGRICULTURAL ACTS
[ ] 196 FRANCHISE CIVIL RIGHTS [ ] 530 HABEAS CORPUS | |] 790 OTHER LABOR Defendant) [ 1893 ENVIRONMENTAL
[ ]835 DEATH PENALTY LITIGATION | ] 871 IRS-THIRD PARTY MATTERS
[ ]540 MANDAMUS & OTHER [ ] 791 EMPL RET INC 26 USC 7609 [ ]895 FREEDOM OF
[1440 (NowPrxoner SECURITY ACT (ERISA) INFORMATION ACT
REAL PROPERTY [ ]441 voTING IMMIGRATION [ ] 896 ARBITRATION
[ ] 210 LAND [ 1442 EMPLOYMENT PRISONER CIVIL RIGHTS t ee AONE ACHREVIEW oR
CONDEMNATION — [ ] 443 HOUSING/ { ]462 NATURALIZATION PEAL OF AGENCY DECISION
[ 1220 FORECLOSURE ACCOMMODATIONS [| ] 550 CIVIL RIGHTS APPLICATION APPEAL CY DE!
[ ]230 RENT LEASE & [ 1445 AMERICANS WITH { ]555 PRISON CONDITION —_[_ ] 465 OTHER IMMIGRATION | ] 980 CONSTITUTIONALITY OF
EJECTMENT DISABILITIES - [ ] $60 CIVIL DETAINEE ACTIONS STATE STATUTES
[ ] 240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[ 245 ToRT PRODUCT _‘[ ]446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
[ } 290 ALL OTHER { ]448 EDUCATION

REAL PROPERTY

Check if demanded in complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.NLY.

CHECK IF THIS IS ACLASS ACTION AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
UNDER F.R.C.P. 23 IF SO, STATE:
DEMAND $N/A OTHER JupGe N/A DOCKET NUMBER

Check YES only if demanded in complaint
JURY DEMAND: DO ves CNO NOTE: You must also submit at the time of filing the Statement of Reiatedness form (Form !H-32).

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(PLACE AN x IN ONE BOX ONLY) ORIGIN

(] 1 original 2 Removed from CI 3 Remanded [_| 4 Reinstated or [| 5 Transferred from [7] 6 litgation C17 aise ton
ji ify District

Proceeding State Court Appellate Reopened (Specify District) (Transferred) Magistrate Judge

@, all parties represented = Court

Cr] b. At least one party

[-]8 Multidistrict Litigation (Direct File)

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[J] 1 u.S. PLAINTIFF [[] 2 U.S. DEFENDANT 3 FEDERAL QUESTION (]4 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE []4 £11 CITIZEN OR SUBJECT OF A []3[]3 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE []4[]4 FOREIGN NATION []6 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS AC BE ASSIGNED TO: [-] WHITE PLAINS [x] MANHATTAN

execu,

DATE 07/27/2022

ADMITTED TO PRACTICE IN THIS DISTRICT

NEY OF RECORD {xj} NO
ix) YES (DATE ADMITTED Mo.09 Yr. 1981 +)

Attorney Bar Code # 1743996

RECEIPT #

Magistrate Jyae is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.
Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)

Clear Form Save Print

